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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION
                                     No. 2:12-CV-74

TRAVIS TREVINO RUNNELS,                               )
                                                      )
               Petitioner,                            )
                                                      )
               v.                                     )
                                                      )       DEATH PENALTY CASE
LORIE DAVIS, Director,                                )
Texas Department of Criminal Justice,                 )
Correctional Institutions Division,                   )
                                                      )
               Respondent.                            )
                                                      )

             *********************************************************
                               OBJECTIONS TO THE
                         REPORT AND RECOMMENDATION
             *********************************************************

       Comes now the Petitioner, Travis Trevino Runnels, by and through counsel, and

respectfully objects, pursuant to Rule 72(b) of the Federal Rules of Civil Procedure, to the

September 29, 2017 Report and Recommendation of Magistrate Judge Clinton E. Averitte (Doc.

73) that Petitioner’s request for relief pursuant to Federal Rule of Civil Procedure 60(b) (Docs. 52,

53) be transferred to the United States Court of Appeals for the Fifth Circuit as a second-or-

successive petition. Mr. Runnels’ specific objections and supporting arguments are described in

the supporting brief filed contemporaneously with this pleading.

       Respectfully submitted this the 13th day of October 2017.

                                              /s/Janet Gilger-VanderZanden
                                              Janet Gilger-VanderZanden
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                                  /s/Mark J. Pickett
                                  Mark J. Pickett
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this day I electronically filed the forgoing Objections to the Report
and Recommendation with the Clerk of Court using the CM/ECF system, which will send
notification of such filing to Respondent Lorie Davis, Director TDCJ-CID, by and through the
attorney of record, Jefferson David Clendenin.

       This the 13th day of October, 2017.

                                               /s/Mark J. Pickett
                                               Mark J. Pickett




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